Case 2:21-cv-00225-JRG-RSP Document 61 Filed 10/26/21 Page 1 of 2 PageID #: 868
                                                         Revised: 9/3/2015
                       UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                                                          By Nakisha Love at 8:19 am, Oct 26, 2021
                             __________DIVISION
                             Marshall
                    APPLICATION TO APPEAR PRO HAC VICE



 1.This application is being made for the following: Case #__________________________________
                                                              2:21-cv-225-JRG-RSP
 Style/Parties:________________________________________________________________________
                Bright Data Ltd. v. NetNut Ltd.
 2. Applicant is representing the following party/ies: __________________________________________
                                                       NetNut Ltd.
 3.Applicant was admitted to practice in __________
                                           GA          (state) on _____________________
                                                                  12/03/2010                   (date).
 4. Applicant is in good standing and is otherwise eligible to practice law before this court.
 5. Applicant is not currently suspended or disbarred in any other court.
 6. Applicant has has not had an application for admission to practice before another court denied (please
 circle appropriate language). If so, give complete information on a separate page.
 7. Applicant has has not ever had the privilege to practice before another court suspended (please circle).
 If so, give complete information on a separate page.
 8. Applicant has has not been disciplined by a court or Bar Association or committee thereof that would
 reflect unfavorably upon applicant’s conduct, competency or fitness as a member of the Bar (please
 circle). If so, give complete information on a separate page.
 9. Describe in detail on a separate page any charges, arrests or convictions for criminal offense(s) filed
 against you. Omit minor traffic offenses and misdemeanor offenses committed prior to age 18. (See Page 3)
 10. There are no pending grievances or criminal matters pending against the applicant.
 11. Applicant has been admitted to practice in the following courts:
 ______________________________________________________________________________
  Georgia, Court of Appeals for the Federal Circuit, Court of Appeals for Veterans Claims, Northern District of Georgia
 12. Applicant has read and will comply with the Local Rules of the Eastern District of Texas, including
 Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”
 13. Applicant understands that he/she is being admitted for the limited purpose of appearing in the case
 specified above only.
 Application Oath:
          I, __________________________________________do
              Kevin D. Rodkey                                         solemnly swear (or affirm) that the
 above information is true; that I will discharge the duties of attorney and counselor of this court faithfully;
 that I will demean myself uprightly under the law and the highest ethics of our profession; and that I will
 support and defend the Constitution of the United States.

 Date _______________
       10/22/2021                                    /s/ Kevin D. Rodkey
                                           Signature __________________________________ (/s/Signature)




                     Application Continued on Page 2
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                             UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                  APPLICATION TO APPEAR PRO HAC VICE (Continued)



                                                   Name (please print) _____________________________________
                                                                        Kevin D. Rodkey
                                                   Bar Number /State______________________________________
                                                                       352623 / GA
                                                   Firm Name:       ________________________________________
                                                                     Finnegan
                                                   Address/P.O. Box: ____________________________________
                                                                         271 17th Street, NW, Suite 1400
                                                   City/State/Zip: _________________________________________
                                                                   Atlanta, GA 30363-6209
                                                   Telephone #: _________________________________________
                                                                   404-653-6484
                                                   Fax #: ______________________________________________
                                                            404-653-6444
                                                   E-mail Address: ________________________________________
                                                                     kevin.rodkey@finnegan.com
                                                   Secondary E-Mail Address: _______________________________

                                                                    10/26/21
         This application has been approved for the court on: _______________________________________




                                                                       David A. O'Toole, Clerk
                                                                       U.S. District Court, Eastern District of Texas



                                                                       By _______________________________________
                                                                       Deputy Clerk




Application Instructions
Complete page 1 and 2 of this Application and Email to phv@txed.uscourts.gov for approval. Once
approved, the clerk will email to you your new Login and   Password so that you will be able to
electronically file your application and pay the $100 fee on    line. If you already have a login and
password, you will still need to wait for approval email   from the clerk before filing your                   Email Application
electronic application.    For Complete Instructions please visit the website
http://www.txed.uscourts.gov/
